   Case 1:20-cr-00064-AMD Document 131 Filed 06/14/21 Page 1 of 27 PageID #: 421
                                                                                                 PARTNERS
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
 -----------------------------------------------------        X
 UNITED STATES OF AMERICA                                     :

                            Plaintiff,                        :   1:20-CR-00064

                              -   v. -                        :

                                                              :
 TREVOR BODDEN
                             Defendant
 -----------------------------------------------------        X



                                                   I.    Background

“My mother beat me all of the time because she couldn’t deal with my mental health problems; but I

still loved her.”

        These are words no adult should have to say; and no child should have to experience.

However, these are the words used by Trevor Bodden when describing his childhood. His upbringing

was one of suffering, pain, and trauma. Trevor’s father left his family when Trevor was 2 years-old

and never looked back. Heartbroken and defeated, Trevor’s mother began to abuse alcohol and

narcotics. This behavior led to the lack of consistent employment, and Trevor and his siblings being

evicted from multiple apartments, sleeping at random acquaintances homes, and living in shelters.

        Due to her alcohol and substance abuse, Trevor and his siblings were largely unsupervised

during childhood leaving them often to fend for themselves. Frequently there was no food in the home

resulting in he and his siblings eating bread with syrup and grits to feed themselves. And then there


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was the abuse. Trevor recalls being constantly cursed at, and beat with electrical cords, wires, and

spoons by his mother.

       Trevor often sustained bruises from the abuse, and routinely lied to school officials and the

New York City Administration for Children's Services regarding the abuse. Trevor recalls being beat

more than his siblings due to what he believes was his diagnosis of Attention-Deficit Hyperactivity

Disorder (ADHD) which caused him to be “hyper all of the time.” He recalls his mother making fun

of him for having special needs and becoming upset that he was often “too hyper.” He recalls hiding

from his mother under the bed when “she was in one of her moods” to avoid being smacked, pushed,

or yelled at. However, Trevor was not the only person experiencing abuse in the home. Trevor’s

mother was consistently in abusive relationships. As a child Trevor witnessed his mother being

punched, kicked, and one time her head being pushed into the oven while he was crying and

screaming for her boyfriend to stop. At the age of 12 Trevor had enough. Tired of watching his mother

being abused, tired of being abused by his mother, tired of feeling tired all the time due to his

medication. At age 12 Trevor attempted suicide and stopped taking his medication; and with no

present parent guiding him correctly, he stayed off it.

       Off his medication, hating his father, and resenting his mother, Trevor made decisions that

were counterproductive. Decisions he acknowledges were wrong, and punishments he acknowledges

were deserved. But what seemed like a common theme in Trevor’s life, not all punishments were

deserved.

                                     II.     Wrongfully Incarcerated
An innocent man spent over five years, in one of America’s most infamous jails, for a crime he did not
commit.
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          In August of 2010, at the age of 19, Trevor was arrested for murder 1. He was arraigned,

remanded, and taken to Rikers Island where he stayed for over five years. For over five years, 1,948

days, Trevor remained on Rikers Island for a crime he was innocent of. A crime where the Assistant

District Attorney prosecuting the case withheld information so vital to Trevor’s innocence, a mistrial

was declared.

          When initially arrested, Trevor’s co-defendants identified the actual shooter as “X”. X was

currently being prosecuted by the Queens District Attorney office (the same District Attorney’s Office

prosecuting Trevor) for a homicide that occurred less than 48 hours after the incident Trevor was

charged for. The gun allegedly used in the homicide X was charged with, was the same gun used in

the homicide Trevor was currently charged with. This information was not disclosed to the defense

until jury selection.

          During jury selection the District Attorney’s office turned over a Complaint Follow-Up Report

and Ballistic Report which indicated that the weapon used in the homicide for which Trevor was

charged, was used in a different shooting, by a different shooter. The shooting X was charged with it.

          The Court declared a mistrial. Yet, Trevor remained incarcerated after the mistrial for more

than a year before his second trial.

          During Trevor’s second trial it was revealed that the decedent's phone was found in X’s

possession when X was arrested. The eyewitness testimony against Trevor was also proven to be

false. The jury returned a verdict acquitting Trevor of all charges on December 8, 2015.



1
    Indictment# 2047/2010, Supreme Court, Queens County.
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        After 5 years Trevor was finally exonerated. But he was not free to go. Trevor had a pending

felony assault charge stemming from his arrest on the murder charge. While arrested, an officer

injured themself while roughly arresting Trevor. An arrest that resulted with Trevor requiring

medical attention.2 Trevor was told he would now have to go to trial a third time. This time for

Assault. After spending over five years in jail, for a crime he did not commit, Trevor agreed to plead

guilty to misdemeanor assault and was sentenced to one year in jail. A sentence responsible for half

of Trevor's criminal history points.3 Trevor currently has a lawsuit pending against the City of New

York for malicious prosecution and false imprisonment.4

                                                   III.     Family Life

My biggest fear is losing time with my children and not being able to be there with them.

        In 2014, while Trevor was incarcerated for the murder charge, his mother passed away due to a

brain hemorrhage. Despite the abuse experienced from his mother, according to Trevor, “it killed me

when she died, and I couldn’t even go to the funeral.” Because as Trevor said to defense counsel, “at

the end of the day she was my mother, and I know she loved me. That’s more than I can say about my

father.” Trevor may be correct.

        After years of resentment and anger towards his father for abandoning him, Trevor mustered

up the strength, swallowed his pride, and reached out to his father. Now that he was a father, Trevor




2
  Mr. Bodden was treated at Peninsula Hospital 51-15 Beach Channel Dr, Far Rockaway, NY 11691. The facility closed in
2012. The storage facility where the medical records may be held have not replied to defense counsel as of the writing of
this memo.
3
  PSR. Par 78.
4
  Bowen v City of New York,702365/2017
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                                                                                                PARTNERS
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wanted his children to have a relationship with their grandfather and hoped he could have one with his

father as well. His father did not share the same sentiments. Trevor sent message after message to his

father on social media; pictures of himself, pictures of his children; begging his father to respond. After

multiple messages, his father never replied and eventually blocked Trevor from contacting him.

       With his mother passing away, and his father wanting nothing to do with him, Trevor’s core

support group is his fiancé and his children who he describes as “the only reason I’m alive.” Trevor has

been an amazing father to his children, especially given the lack of examples he had in his own life.

Growing up never feeling loved by his parents has miraculously made Trevor the best father he can be.

Trevor’s life revolves around his children. He is present to assist with homework assignments, school

projects and spends as much time as he can with them to ensure “they won’t end up like me.”

       According to Trevor, “out of everything bad that has happened to me in my life, my biggest fear

is losing time with my children and not being able to be there with them. I can’t do that to them.” His

fiancé Simone describes him as an "amazing" father and an "asset to the household." According to

Simone, without Trevor, she would not know how she could afford to care for their daughter as Trevor

provides childcare and financial support for their daughter. She expresses how she “loves to see them

together, especially knowing what he went through growing up.”

                                     IV.   Mental and Emotional Health

“I have to get right for my kids.”

         Trevor has suffered from depression and anxiety since he was a child. According to Trevor, “I

always knew something was wrong with me, I was always sad and angry.” At age 7 he was diagnosed

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with ADHD and depression. Due to his special needs, he was unable to focus while in school and was

placed into special education programs and was often physically restrained by teachers. He was

prescribed, and took, Ritalin and other various medications for ADHD until he was 12 years old when

he stopped taking the medication because it made him "feel drowsy and lazy."

           Shortly after Trevor discontinued his medication, Trevor attempted suicide at the age of 12.

Trevor remembers fastening a belt around his neck and beginning to pull the belt tighter. Fortunately,

when Trevor began to tighten the belt around his neck he fell to the ground and hit his head. This

caused him to release the pressure of the belt around his neck. Trevor believes that fall saved his life.

Unfortunately, deep depression and suicidal thoughts have always haunted Trevor for most of his

adult life, feelings Trevor states were exasperated during his time on Rikers Island.

           Studies have shown that men “still find it difficult to seek psychological counseling when

confronted with mounting emotional distress.”5 Too often men do not share their feelings and never

get the mental health help they may desperately need. Growing up in a culture of “manning up” and

“just handle it” has created a society where men are afraid to ask for help in fear of looking weak.

Fear of being judged. Fear of not being a “real man.” Recently Trevor decided he would no longer

subscribe to this way of thinking because he “had to get right for his children.” Being a good a father

was more powerful than Trevor’s pride. As a result Trevor voluntarily began mental health counseling

and continues to attend virtual sessions. Trevor states that he still has not found “who he is yet,” but he

knows he is “better than who I was in the past.”




5
    https://www.dallasbehavioral.com/blog/mens-mental-health-its-okay-not-okay
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       Trevor continues to find "himself to this day." Now that he has distanced himself from people

he once associated with, he began to feel lonely, and complained about not "having anyone to talk to

anymore." This caused Trevor to become "depressed" and in a "dark space." A place Trevor is

familiar with, but a place he has finally allowed himself to be helped with. Counseling, work, and

family life have now filled that void. Trevor is doing well in his treatment and boasts how it has

helped him" cope better and do better."

                                          V.    Criminal Conduct

Mistakes he understands have not only affected him, but the people he loves as well.

       While incarcerated Trevor met people who he thought were his friends. People who protected

him when he was a scared, skinny, 19-year-old charged with murder, housed amongst grown men.

People who became like family; people who Trevor decided to make foolish mistakes with. Mistakes

he understands have not only affected him, but the people he loves as well. While supportive of

Trevor, his fiancé Simone is upset Trevor “would allow himself to be put in this situation” telling

defense counsel “him staying in contact with people he was incarcerated with got him in this mess.”

Though upset, she is strongly convinced that he is on his way to becoming a new man. I agree.

                              VI.   Justification for a Non-Guideline sentence

Apologies become meaningless if the initial conduct has not changed.

        Mental health and lack of employment are some of the leading causes of recidivism.

According to Economist Jennifer Doleac, “those who are employed are less likely to reoffend, and
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this correlation has led many to think that increasing access to jobs could be the key to reducing

recidivism.”6 This is true, poverty can be correlated to many of the issues that bring most of us into this

courthouse. But only by addressing the cause of the problem, do we stand a chance of preventing and/

or reducing it. Trevor is ahead of the game.

         Apologies become meaningless if the initial conduct has not changed. While Trevor is

extremely apologetic for his behavior, he has taken the necessary steps to prove to this Court that he is

in fact also rehabilitated, understanding that evidence of rehabilitation “is clearly relevant to the

selection of an appropriate sentence here.”7 What better example is there than to provide “the most up-

to-date picture of [ones] history and characteristics” as they would apply to § 3553(a)(1) than an

accounting of what they have accomplished since the beginning of their criminal case. 8

         Trevor has been employed at City Harvest for over 4 months where he is responsible for

packaging food to distribute to homeless shelters, churches, and other institutions providing for people

in need. (Please see Exhibit A). Two of Trevor’s major goals have always been to move out of his

fiancé’s mothers’ home to raise his children in his own apartment, and increase his credit score. Trevor

has accomplished both. After weeks of saving their paychecks, Trevor and his fiancé saved enough

money to rent their own apartment; a first for Trevor. (Please see Exhibit B) Understanding the

additional financial responsibilities of having your own apartment, Trevor recently got a second job

working in the packaging department at Amazon to ensure he is best prepared to take care of his family

(Please see Exhibit C). Trevor even managed to get his credit score above a 750-a personal

accomplishment of his he was so proud of he requested it be put in this memo. (Please See Exhibit D).

 6
   https://econofact.org/can-employment-focused-reentry-programs-keep-former-prisoners-from-being-reincarcerated
 7
   See Pepper v. United States, 562 U.S. 476 (2011)
 8
   Id. At 492.
 __________________________________________________________________________________
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                                                                                                            PARTNERS
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                              LLP.                                                           William F. Guilford, Esq.
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          While the above-mentioned things are great achievement in their own respect, they would mean

little if Trevor was not working on his mental health. Trevor understands this. He is still enrolled at

New York Psychotherapy and Counseling Center seeking to deal with his mental health while

managing two jobs and parenthood. (Please see Exhibit E)

          It can become easy to get stuck in a place of self-pity and misery when experiencing the

trauma’s Trevor has endured since he was a child, but as self-help writer, Edmond Mbiaka once said,

“It is your responsibility to pull yourself up if you find yourself at the bottom, instead of waiting around

and expecting others to come to your rescue.”

          This could not be truer when speaking of Trevor. He has pulled himself up from the trenches and

is focused on being the father he always wished he had. It is because of this; we humbly ask this court to

sentence Trevor to a sentence of time served with supervised release, and allow him to continue on the

amazing path he has put himself on. As The Honorable Judge Gleeson once stated, while imprisonment

may be necessary in some cases, courts should not lose sight of the fact that in the extra months and

years a person is incarcerated, children grow up; loved ones drift away; employment opportunities fade;

parents die.”9

                                                   VII.    Conclusion

Redemption is always possible if you are committed to it.

          Trevor is someone who society would benefit from not sending to prison as he is a living

example of the power of human resolve when put in a position to succeed. He is a hardworking man; a

good father; and role model for younger men on what you can become when you make an effort to do



  9
      United States v. Diaz, No. 11 Cr. 821 (JG), 2013 WL 322243 (E.D.N.Y. Jan. 28, 2013).
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                        EXHIBIT A
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                        EXHIBIT B
          Case 1:20-cr-00064-AMD Document 131 Filed 06/14/21 Page 15 of 27 PageID #: 435
 A 5 5-Apartment lease, comprehensive form, mles,                   PREPARED By ARNOLD MANDELL, L.L.B,                ~ 1984 BY JULIUS BLUMBERG INC.,
          guaranty, plain English format, 6-84 0                                                                                 PUBLISHER, NYC 1601 3

                                                                   LEASE AGREEMENT
  The Landlord and Tenant agree to lease the Apartment for the Term and at the Rent stated on these terms:

  LANDLORD:                                                                            TENANT:
  Tameeka Ford                                                                         Simone Leiva and Trevor Bodden
  Address for Notices
  11233
  Apartment (and terrace, if any)                   1258         at Herkimer st Brooklyn NY 11233
  Bank

                                                               Term 12 months                                                         $19,800

                                                           I
      Lease date:                                                                                              Yearly Rent
      April 12                                 20 21           beginning May 1                     20 21       Monthly Rent           $1650
                                                               ending April 30                     20 22       Security              $1650
      Broker*            Grand Town Listings

Rider Additional terms on                                        page(s) initialed at the end by the parties is attached and made a part of this Lease.
1. Use The Apartment must be used only as a private                                    Landlord is allowed to keep for expenses. Landlord need not
Apartment to live in as the primary residence of the Tenant and                        give Tenant interest on the security if Tenant is in default.
for no other reason. Only a party signing this Lease may use the
Apartment. This is subject to Tenant's rights under the                                6. Services Landlord will supply: (a) heat as required by law,
Apartment Sharing Law and to limits on the number of people                            (b) hot and cold water for bathroom and kitchen sink, (c) use of
who may legally occupy an Apartment of this size.                                      elevator, if any, and (d) cooling i, central air conditioning is
                                                                                                                            14,


                                                                                       installed. Landlord is not required to install air-conditioning.
2. Failure to give possession Landlord shall not be liable for                         Stopping or reducing of service(s) will Plot be reason for Tenant,
failure to give Tenant possession of the Apartment on the                              to stop paying rent, to make a money claim or to claim eviction.
beginning date of the Term. Rent shall be payable as of the                            Tenant may enforce its rights under the warranty of habit-
beginning of the Term unless Landlord is unable to give                                ability. Damage to the equipment or appliances supplied by
possession. Rent shall then be payable as of the date possession                       Landlord, caused by Tenant's act or neglect, may be repaired
is available. Landlord must give possession within a reasonable                        by Landlord at Tenant's expense. The repair cost will be added
time, if not, Tenant may cancel and obtain a refund of money                           rent.
deposited. Landlord will notify Tenant as to the date possession                          Tenant must pay for all electric, gas, telephone and other
is available. The ending date of the Term will not change.                             utility services used in the Apartment and arrange for them
                                                                                       with the public utility company. Tenant must not use a
3. Rent, added rent The rent payment for each month must                               dishwasher, washing machine, dryer, freezer, heater, ventilator,
be paid on the first day of that month at Landlord's address.                          air cooling equipment or other appliance unless installed by
Landlord need not give notice to pay the rent. Rent must be                            Landlord or with Landlord's written consent. Tenant must not
paid in full without deduction. The first month's rent is to be                        use more electric than the wiring or feeders to the Building can
paid when Tenant signs this Lease. Tenant may be required to                           safely carry.
pay other charges to Landlord under the terms of this Lease.                              Landlord may stop service of the plumbing, heating, eleva-
They are called ''added rent.'' This added rent will be billed and
is payable as rent, together with the next monthly rent due. If                        tor, air cooling or electrical systems, because of accident,
Tenant fails to pay the added rent on time, Landlord shall have                        emergency, repairs, or changes until the work is complete.
the same rights against Tenant as if Tenant failed to pay rent.                           If Landlord wants to change a person operated elevator to an
                                                                                       automatic elevator, Landlord may stop service on 10 days'
4. Notices Any bill, statement or notice must be in writing. If                         notice. Landlord will then have a reasonable time to begin
to Tenant, it must be delivered or mailed to the Tenant at the                          installation of an automatic type elevator.
Apartment. If to Landlord it must be mailed to Landlord's
address. It will be considered delivered on the day mailed or if                        7. Alteration Tenant must obtain Landlord's prior written
not mailed, when left at the proper address. A notice must be                           consent to install any paneling, flooring, ''built in'' decorations,
sent by certified mail. Each party must accept and claim the                            partitions, railings, or make alterations or to paint or wallpaper
notice given by the other. Landlord must notify Tenant if                               the Apartment. Tenant must not change the plumbing, ventila-
Landlord's address is changed.                                                          ting, air conditioning, electric or heating systems. If consent is
                                                                                        given, the alterations and installations shall become the
5. Security Tenant has given security to Landlord in the                                property of Landlord when completed and paid for. They shall
amount stated above. The security has been deposited in the                             remain with and as part of the Apartment at the end of the
Bank named above and delivery of this Lease is notice of the                            Term. Landlord has the right to demand that Tenant remove
deposit. If the Bank is not named, Landlord will notify Tenant                          the alterations and installations before the end of the Term.
of the Bank's name and address in which the security is                                 The demand shall be by notice, given at least 15 days before the
deposited.                                                                              end of the Term. Tenant shall comply with the demand at
                                                                                        Tenant's own cost. Landlord is not required to do or pay for
   If Tenant does not pay rent or added rent on time, Landlord                          any work unless stated in this Lease.
may use the security to pay for rent and added rent then due. If
Tenant falls to timely perform any other term in this Lease,                               If a lien is filed on the Apartment or Building for any reason
Landlord may use the security for payment of money Landlord                             relating to Tenant's fault, Tenant must immediately pay or
may spend, or damages Landlord suffers because of Tenant's                              bond the amount stated in the Lien. Landlord may pay or bond
failure. If the Landlord uses the security Tenant, shall, upon                          the lien if Tenant fails to do so within 20 days after Tenant has
notice from Landlord, send to Landlord an amount equal to                               notice about the Lien. Landlord's costs shall be added rent.
the sum used by Landlord. That amount is due, when billed, as
rent. At all times Landlord is to have the amount of security                           8. Repairs Tenant must take good care of the Apartment and
stated above.                                                                           all equipment and fixtures in it. Landlord will repair the
                                                                                        plumbing, heating and electrical systems. Tenant must, at
   If Tenant fully performs all terms of this Lease, pays rent on                       Tenant's cost, make all repairs and replacements whenever the
time and leaves the Apartment in good condition on the last                             need results from Tenant's act or neglect. If Tenant fails to
day of the Term, then Landlord will return the security being                           make a needed repair or replacement, Landlord may do it.
held.                                                                                   Landlord's reasonable expense will be added rent.
   If Landlord sells or leases the Building, Landlord may give
the security to the buyer or lessee. In that event Tenant will look                      9. Fire, accident, defects, damage Tenant must give Land-
only to the buyer or lessee for the return of the security and                          lord prompt notice of fire, accident, damage or dangerous or
Landlord will be deemed released. The Landlord may use the                              defective condition. If the Apartment can not be used because
security as stated in this section. Landlord may put the security                       of fire or other casualty, Tenant is not required to pay rent for
in any place permitted by law. Tenant's security will bear                              the time the Apartment is unusable. If part of the Apartment
interest only if required by law. Landlord will give Tenant the                         can not be used, Tenant must pay rent for the usable part.
interest when Landlord is required to return the security to                            Landlord shall have the right to decide which part of the
Tenant. Any interest returned to Tenant will be less the sum                            Apartment is usable. Landlord need only repair the damaged


*If no broker, insert ''None.          '
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                        EXHIBIT C
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                        EXHIBIT D
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                        EXHIBIT E
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                        EXHIBIT F
Case 1:20-cr-00064-AMD Document 131 Filed 06/14/21 Page 23 of 27 PageID #: 443




Dear Judge Donnelly,


I really don’t know where to start. I read my lawyer’s sentencing memo and it was one the
hardest things I’ve ever read. It’s hard reading about your life, but it also made me realize why I
need to stay in counseling and why I’ve acted the way I acted for so long. I’m not trying to make
any excuses for what I did. I know I was wrong.
I don’t know how to explain it but I’ve never felt like I had what it takes to hold down a job, my
own place and be a family man. I’ve tried before and it’s like something always happens to mess
things up.
This time has been different. I have my own apartment for the first time in my life. My child
lives with me for the first time in my life. I’m working 2 jobs. I’m going to therapy. I speak to
young kids in the neighborhood about not making the same mistakes I did. I’m really really
trying. I KNOW I can do this now.
I’ve been in jail before. I know when you’re in jail you have to be someone you don’t want to be.
Someone who is tough, someone who isn’t afraid to fight, just to make sure people don’t attack
you all of the time. I had to be that person when I was in jail for those 5 years for a crime I didn’t
commit. I don’t want to have to become that person anymore. I’m not that person anymore.
Everything is finally working out for me in life. I know I’ve made mistakes. I’ve been trying my
best since the beginning of this case to show you that I can change. I feel changed and know I’ve
changed. I’m asking that you please give me the opportunity to prove it to you.


Thank you,


Trevor Bodden
Case 1:20-cr-00064-AMD Document 131 Filed 06/14/21 Page 24 of 27 PageID #: 444




Simone Leiva
1258 Herkimer Street Apt. 2
Brooklyn, NY 11233


Date: June 1, 2021
Dear Your Honor,
I truly believe Trevor is a person of good moral character. I realize that might seem hard to
believe, given his current circumstances, but it really is true. I have known Trevor for over five
years, and in that time, I have seen him go through difficulties and depression but still managing
to try to find hope and not let things get him down all the time. When I met Trevor, I was
initially turned off when he told me about his past, but he was such a compassionate and sweet
person that I continued to see him because I was convinced that he was a decent person at the
core. He has such a good heart and is really a teddy bear deep down.


Trevor is the father of my first and only child and has really stepped up and taking this
responsibility seriously. Since Trevor has taken the initiative to start therapy, overall things have
been more manageable. Trevor has begun the journey of addressing his childhood trauma, and
the reasons for some past decisions that he is not proud of. This has made him such a better
father.


Trevor is also working two jobs, City Harvest and Amazon warehouse. Removing Trevor from
our home would drastically disrupt the household and make life extremely difficult if not
impossible for us. I have never had to function as a single mother and honestly speaking I do not
ever want to. Trevor is the link to keeping my home in order, without him, this would bring great
detriment to my family. I know what living in a single parent home did to Trevor and I do not
want that for our child.


Trevor has made mistakes and he is incredibly remorseful. I know he is willing to do whatever it
takes to show everyone he can make it. He really needs the opportunity to get a second chance. I
recognized that Trevor broke the law. It was stupid and selfish. But he’s such a better and
different man now. Please allow him to continue growing and allow us to keep our family intact.
Thank you,


Simone Leiva
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                   COURT REFERENCE LETTER


To Whom This May Concern,


My name is Ms. Timothy Robinson and proud to offer my recommendation of TREVOR
BODDEN to whom I have personally known for over 20 years. His mother was a personal friend
of mine.

During my relationship with TREVOR BODDEN, I have experienced an individual who shows
up earlier than asked, works hard, and carries themselves in a polite, respectable manner. In
addition, Trevor is a family-person who has presented himself with levelheadedness and grace.
He is a loving and caring young man. I am blessed and honored to have him in my life. He is
definitely a productive citizen in our society.

Please do not hesitate to contact me if you should require any further information.


Best,

Timothy Robinson, CNA/Phlebotomist (NYCHHC)
151 Navy Walk
Brooklyn, NY 11201
929-407-4768
Timmie381@gmail.com
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                        EXHIBIT G
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                Connect A                                                                 1642 Broadway
                                                                                      Brooklyn, NY 11207

                Million Youth                                       www.connectamillionyouth@gmail.com

                Regenerating A Generation

                                                                    June 6, 2021


To Whom It May Concern:

I am writing this character reference letter on behalf of Trevor Bodden. Mr. Bodden is a highly
intelligent, committed and industrious young man, who is committed to improving his community
and being of service to his fellow man.

As the Vice President of Connect A Million Youth and the Youth President of the United Goodwill
Temple Community Church, Inc., I work with many young people and can honestly say that Trevor
is an outstanding individual. His work ethic embodies our purpose “To provide an attitudinal,
structural, cultural, and spiritual process by which young people gain the ability, authority, and
agency to make decisions and implement change.” Mr. Bodden has participated in our Annual
Youth Summit Conferences, Youth Town Hall Meetings and Holiday Toy Drives. He works
diligently with the youth and is a vital part of the growth and development of many of the young
people that we work with.

Mr. Bodden has been an example to not only his children and family at home but to the members
of the youth department of the church that he works well with. It is my belief that Mr. Bodden has
the requisite temperament and composure to handle such a responsibility that his profession carries
and would hope that you take this letter in to consideration in your decision.

Thank you for your time and consideration. If you require any additional information, please don’t
hesitate to contact me via e-mail at MrStokes107@gmail.com or via cell (347) 351-6587.



                                                     Sincerely,


                                                     Anthony M. Stokes
                                                     Anthony M. Stokes

                                                     Vice President, Connect A Million Youth
